                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                         CIVIL ACTION NO. 3:15-CV-417-DCK

 ANNE BACLAWSKI,                                        )
                                                        )
                 Plaintiff,                             )
                                                        )
    v.                                                  )       ORDER
                                                        )
 MOUNTAIN REAL ESTATE CAPITAL                           )
 LLC; MOUNTAIN ASSET MANAGEMENT                         )
 GROUP LLC; and PETER FIORETTI,                         )
                                                        )
                 Defendant.                             )
                                                        )

         THIS MATTER IS BEFORE THE COURT sua sponte regarding scheduling concerns.

The parties have consented to Magistrate Judge jurisdiction pursuant to 28 U.S.C. § 636(c), and

immediate review is appropriate.

         Due to scheduling conflicts, a trial in this matter will be rescheduled from February 5,

2018, to the undersigned’s next trial term, beginning April 16, 2018.

         IT IS, THEREFORE, ORDERED that this matter is set for trial during the civil term

beginning April 16, 2018.

         IT IS FURTHER ORDERED that a Final Pretrial Conference will be held on April 10,

2018. The parties shall make appropriate pretrial filings and preparations pursuant to the “Pretrial

Order And Case Management Plan” (Document No. 18).

         SO ORDERED.

                                          Signed: January 24, 2018




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